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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

 ZHAOYOU CHEN,

                      Plaintiff,                      Case No. 24-cv-07164

        v.                                            Judge Sara L. Ellis

 PARTNERSHIPS AND UNINCORPORATED                      Magistrate Judge Keri L. Holleb
 ASSOCIATIONS IDENTIFIED ON                           Hotaling
 SCHEDULE A,

                      Defendants.


      Plaintiff’s Response to Defendants’ Unopposed Motion for Extension of Time to
                   Answer or Otherwise Respond to Plaintiff’s Complaint

       Plaintiff Zhaoyou Chen (“Plaintiff”) hereby consents to the motion [44] by Defendants

Brosyda, Kesfitt Patio Direct, and Mrrihand-Cover for a 30-day extension of time from

September 27, 2024 to October 28, 2024 to answer or otherwise respond to Plaintiff’s

Complaint.

Dated: September 25, 2024                          Respectfully submitted,

                                                   By: /s/ Sarah L. Boone
                                                   Mark C. Johnson
                                                   Sarah L. Boone
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